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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

KATE WEISSMAN,                           CIVIL ACTION NO. 1:19-cv-10580
            Plaintiff,                   Consolidated with      1:19-cv-12224; and
                                         Consolidated with      1:19-cv-12239
       v.
                                         CLASS ACTION
UNITED HEALTHCARE INSURANCE
COMPANY, UNITED HEALTHCARE
SERVICE, LLC, AND INTERPUBLIC
GROUP OF COMPANIES, INC. CHOICE
PLUS PLAN,

            Defendants.

RICHARD COLE,                            CIVIL ACTION NO. 1:19-cv-12224

            Plaintiff,

       v.

UNITED HEALTHCARE INSURANCE
COMPANY,

            Defendants.

ZACHARY RIZZUTO,                         CIVIL ACTION NO. 1:19-cv-12239

            Plaintiff,

       v.

UNITED HEALTHCARE INSURANCE
COMPANY, UNITED HEALTHCARE
SERVICE, INC., and THE HERTZ CUSTOM
BENEFIT PROGRAM,

            Defendants.
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            NOTICE OF SETTLEMENT AND PROPOSED DEADLINE TO FILE

                       MOTION FOR PRELIMINARY APPROVAL

       Plaintiffs Kate Weissman, Richard Cole, and Zachary Rizzuto (together, “Plaintiffs”) and

Defendants UnitedHealthcare Insurance Company, UnitedHealthcare Services, LLC, Interpublic

Group of Companies, Inc. Choice Plus Plan and The Hertz Custom Benefit Program (together,

“Defendants”), respectfully submit this Notice of Settlement and Proposed Deadline to File

Motion for Preliminary Approval. In support thereof the parties state as follows:

       1.      The parties have reached a full and complete settlement of these matters, subject

to the Court’s approval. The parties are working on documenting the settlement in a full and

complete written Settlement Agreement. The parties anticipate that this documentation will be

completed within the next forty-five (45) days.

       2.      The parties request that the Court enter an Order setting April 14, 2025 as the

Deadline for Plaintiffs to File a Motion for Preliminary Approval of the Settlement.




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Dated: January 21, 2025                               Respectfully submitted,

PLAINTIFFS,                                           DEFENDANTS,



KATE WEISSMAN, RICHARD COLE and                       UNITED HEALTHCARE INSURANCE
ZACHARY RIZZUTO, Plaintiffs and the                   COMPANY, UNITED HEALTHCARE
Putative Class                                        SERVICE, LLC, INTERPUBLIC GROUP
                                                      OF COMPANIES, INC., CHOICE PLUS
                                                      PLAN, and THE HERTZ CUSTOM
                                                      BENEFIT PROGRAM, Defendants

By Their Attorneys,                                   By Their Attorneys,

By: /s/ Lisa S. Kantor                                By: /s/ Gregory F. Noonan
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                                       Certificate of Service
       I certify that on, a copy of this document was electronically filed through the ECF system

and will be sent electronically to all persons identified in the Notice of Electronic Filing, and that

paper copies will be sent to those indicated as nonregistered participants.


Dated: January 21, 2025                        By: /s/ Lisa S. Kantor
                                                       Lisa S. Kantor




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